 Case 1:21-cv-00164-LPS Document 28 Filed 08/11/21 Page 1 of 6 PageID #: 719




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE


 DATACLOUD TECHNOLOGIES, LLC,                          CIVIL ACTION NO. 1:21-cv-00164-LPS

         Plaintiff,                                         Chief Judge Leonard P. Stark

 v.

 SQUARESPACE, INC.,

         Defendant.


       PLAINTIFF’S MOTION FOR LEAVE TO AMEND ITS FIRST AMENDED
                    COMPLAINT TO CORRECT ERRORS

       Plaintiff DATACLOUD TECHNOLOGIES, LLC (hereinafter, “DataCloud”) hereby

moves for leave to correct its First Amended Complaint (D.I. 21) pursuant to Fed. R. Civ. P. 15.

The reason for this Motion is to allow DataCloud to correct a pleading error that DataCloud first

discovered when reviewing the Motion for Judgment on the Pleadings filed by Defendant

SQUARESPACE, INC. (hereinafter, “Squarespace”) on July 28, 2021 (D.I. 24; brief at D.I. 25).

       In drafting the First Amended Complaint, a transposition error was made by counsel for

DataCloud. See McDonough Declaration at ¶ 3. Specifically, in drafting the First Amended

Complaint, counsel for DataCloud inadvertently transposed the words “are” and “do” when

drafting the first sentence of Paragraph 24 of that complaint. Id. The error resulted in the sentence

appearing to allege that the subject claim limitations/steps are functional, which was not the intent.

Id. Unfortunately, the error in Paragraph 24 was missed, and it was later propagated to the first

sentence of Paragraphs 32, 40, 54, 62, 70, and 84. Id. However, reference to the remainder of

that the subject paragraphs show that the word transposition was indeed a mistake. For instance,

following the sentence that includes the error, Paragraph 24 continues by alleging that “[e]ven if

any limitation and/or step of the claims is ‘functional’—and none are[,]” which indicates that the
 Case 1:21-cv-00164-LPS Document 28 Filed 08/11/21 Page 2 of 6 PageID #: 720




order of the words “do” and “are” should have been reversed. See D.I. 21, ¶24. Each of Paragraphs

32, 40, 54, 62, 70, and 84 have similar language in their second sentence that evidencing the

original intent of the first sentence, which was clearly not meant to allege that the subject

limitations are functional. See D.I. 21, ¶¶ 32, 40, 54, 62, 70, and 84

       The proposed Second Amended Complaint corrects the error in each of the Paragraphs

identified above, as follows:

                 Original: “defined by what they do (not what they are)”
                 Corrected: “defined by what they are (not what they do)”

See McDonough Declaration at ¶ 4. No other substantive edits are proposed, nor does DataCloud

seek to add parties or patents if it is allowed to file its proposed Second Amended Complaint

(attached hereto).

       Under Fed. R. Civ. P.15(a), “[a] party may amend its pleading once as a matter of course .

. . if the pleading is one to which a responsive pleading is required, 21 days after service of a

responsive pleading or 21 days after service of a motion under Rule 12(b), (e), or (f), whichever is

earlier.” Fed. R. Civ. Proc. 15(a)(1)(B). “In all other cases, a party may amend its pleading only

with the opposing party’s written consent or the court’s leave.” Fed. R. Civ. Proc. 15(a)(2). “The

court should freely give leave when justice so requires.” Id. A motion for leave to amend should

be granted “[i]n the absence of any apparent or declared reason—such as undue delay, bad faith

or dilatory motive on the part of the movant, repeated failure to cure deficiencies by amendments

previously allowed, undue prejudice to the opposing party by virtue of allowance of the

amendment, [and] futility of amendment[.]” Foman v. Davis, 371 U.S. 178, 182 (1962); Mullin v.

Balicki, 875 F.3d 140, 149 (3rd Cir. 2017) (“the Rule instructs courts to ‘freely give leave [to

amend] when justice so requires.” (alteration original; quoting Fed. R. Civ. Proc. 15(a)(2)).

       Whether leave to amend under Fed. R. Civ. P. 15(a) should be granted “is within the


                                               Page |2
 Case 1:21-cv-00164-LPS Document 28 Filed 08/11/21 Page 3 of 6 PageID #: 721




discretion of the trial court.” Zenith Radio Corp v. Hazeltine Research, Inc, 401 U.S. 321, 330

(1971). The Third Circuit views amendments under Fed. R. Civ. Proc. 15(a)(2) as a “liberal

amendment regime [that] helps effectuate the ‘general policy embodied in the Federal Rules

favoring resolution of cases on their merits.’” Mullin, 875 F.3d at 149 (quoting Island Creek Coal

Co. v. Lake Shore, Inc., 832 F.2d 274, 279 (4th Cir. 1987)). “Denial of leave to amend can be

based on undue delay, bad faith or dilatory motive on the part of the movant; repeated failure to

cure deficiencies by amendments previously allowed; prejudice to the opposing party; and

futility.” Id. (citing Foman, 371 U.S. at 182). “The Foman factors are not exhaustive, allowing a

court to ground its decision, within reason, on consideration of additional equities, such as judicial

economy/burden on the court and the prejudice denying leave to amend would cause to the

plaintiff.” Id. at 149-150 (internal citations omitted).

        Here, none of the Foman factors points to denial of DataCloud’s request. Within two

weeks of the error being brought to DataCloud’s attention, a correction is being sought. Although

DataCloud seeks to amend its complaint a second time, the First Amended Complaint did address

alleged deficiencies in the Original Complaint identified by Squarespace in its first Fed. R. Civ. P.

12(c) Motion (D.I. 16). In addition, three additional patents were added to the First Amended

Complaint (D.I. 21). Discovery is not yet open and there is no schedule, so granting leave would

not prejudice or burden the Court. Given the early stage of this case, there is also no prejudice to

Squarespace, and to avoid doubt, it cannot be reasonably argued that allowing DataCloud to correct

the error in its complaint would prejudice Squarespace by depriving it of the opportunity to gain a

tactical advantage by seizing on a clear error in the operative complaint. Finally, denying

DataCloud leave to amend in order to correct its operative complaint would greatly prejudice it

because the current complaint states exactly the opposite of what it should have said, and




                                                Page |3
    Case 1:21-cv-00164-LPS Document 28 Filed 08/11/21 Page 4 of 6 PageID #: 722




Squarespace is attempting to use that mistake as fodder to help it invalidate DataCloud’s claims.

As such, denying DataCloud the opportunity to fix the error would be contrary to the liberal policy

that favors adjudication on the merits. See Mullin, 875 F.3d at 149.

        DataCloud respectfully requests that the Court grant its motion for leave to file its Second

Amended Complaint, which is attached hereto. 1



        SO ORDERED



Date:
                                              United States District Judge




1
 Also attached is a Redline comparison of the First Amended Complaint (D.I. 21) to the
proposed Second Amended Complaint.


                                               Page |4
 Case 1:21-cv-00164-LPS Document 28 Filed 08/11/21 Page 5 of 6 PageID #: 723




Dated: August 11, 2021          Respectfully submitted,

                                Stamoulis & Weinblatt, LLC

                                /s/ Stamatios Stamoulis
                                Stamatios Stamoulis (#4606)
                                Richard C. Weinblatt (#5080)
                                800 N. West Street Third Floor
                                Wilmington, Delaware 19801
                                Telephone: (302) 999-1540
                                Email: stamoulis@swdelaw.com
                                Email: weinblatt@swdelaw.com

                                James F. McDonough, III (Bar No. 117088, GA)*
                                Jonathan R. Miller (Bar No. 507179, GA)*
                                Travis E. Lynch (Bar No. 162373, GA)*
                                HENINGER GARRISON DAVIS, LLC
                                3621Vinings Slope, Suite 4320
                                Atlanta, Georgia 30339
                                Telephone: (404) 996-0869, -0863, -0867
                                Facsimile: (205) 547-5502, -5506, -5515
                                Email: jmcdonough@hgdlawfirm.com
                                Email: jmiller@hgdlawfirm.com
                                Email: tlynch@hgdlawfirm.com

                                Attorneys for Plaintiff DataCloud Technologies, LLC

* admitted pro hac vice




                                    Page |5
 Case 1:21-cv-00164-LPS Document 28 Filed 08/11/21 Page 6 of 6 PageID #: 724




                                CERTIFICATE OF SERVICE

       I hereby certify that on this day, I electronically filed the above documents with the Clerk

of Court using CM/ECF which will send electronic notification of such filings to all registered

counsel.

Date: August 11, 2021                        /s/ Stamatios Stamoulis
                                             Stamatios Stamoulis #4606




                                              Page |6
